Case 19-20203-SLM           Doc 18 Filed 11/02/19 Entered 11/03/19 00:27:53                      Desc Imaged
                                 Certificate of Notice Page 1 of 2


                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY

    In Re:                                                   Case No.: 19-20203 (SLM)
    PEREZ, BARBARA                                           Chapter: 7
                                                             Judge: STACEY L. MEISEL

                                NOTICE OF PROPOSED ABANDONMENT

    Jay L. Lubetkin, Chapter 7 Trustee in this case proposes to abandon property of the estate described
    below as being of inconsequential value. If you object to the abandonment, you must file a written
    objection with the Clerk of the United States Bankruptcy Court and serve it on the party named below not
    later than 7 days before the hearing date.

    Address of the Clerk:    Jeanne A. Naughton, Clerk
                             US Bankruptcy Court,
                             District of New Jersey
                             MLK Jr. Federal Building
                             50 Walnut Street
                             Newark, NJ 07102

    If an objection is filed, a hearing will be held before the Honorable STACEY L. MEISEL on December 3,
    2019 at 10:00 a.m. at the United States Bankruptcy Court, Courtroom No.3A. (Hearing date must be at
    least 28 days from the date of this notice). If no objection is filed, the abandonment shall take effect on
    entry by the clerk of a Certification of No Objection.

    Description and value of property:     126-128 3rd Avenue
                                           Newark, NJ 07104
                                           Current Market Value: $285,000.00



    Liens on property:       $588,404.00


    Amount of equity claimed as exempt:      $0.00


    Objections must be served on, and requests for additional information directed to:

    NAME:                    /s/Jay L. Lubetkin, Chapter 7 Trustee
    FIRM NAME:               Rabinowitz, Lubetkin & Tully, L.L.C.
    ADDRESS:                 293 Eisenhower Parkway, Suite 100, Livingston, New Jersey 07039
    TELEPHONE NO:            (973) 597-9100
    SUBMITTED BY:            Jay L. Lubetkin POSITION: Chapter 7 Trustee PHONE: (973)597-9100
    DATED:                   October 30, 2019
      Case 19-20203-SLM                Doc 18 Filed 11/02/19 Entered 11/03/19 00:27:53                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-20203-SLM
Barbara Perez                                                                                              Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Oct 31, 2019
                                      Form ID: pdf905                    Total Noticed: 8


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 02, 2019.
db             +Barbara Perez,   547 Sanderling Ct.,   Secaucus, NJ 07094-2220
cr             +Santander Consumer USA Inc.,   2860 Patton Rd.,    Roseville, MN 55113-1100
518255905      +Lending Club Credit Solutions,   1700 West Park Drive Suite 310,    Westborough, MA 01581-3976
518255906      +Santander Consumer USA,   P.O. 961288,   Fort Worth, TX 76161-0288
518255908      +The Home Depot- Fortiva,   Five Concourse Parkway,    Suite 300,   Atlanta, GA 30328-6101

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Nov 01 2019 00:11:59     U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Nov 01 2019 00:11:56     United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,  One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
518255907       E-mail/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM Nov 01 2019 00:11:33     The Children’s Place,
                 PO BOX 659820,   San Antonio, TX 78265-9120
                                                                                             TOTAL: 3

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
518255909      ##+US Bank National Association as trustee,   c/o Monika S. Pundalik, Esq.,
                   Zucker, Goldberg & Ackerman,LLC,   200 Sheffield Street Suite 101,
                   Mountainside, NJ 07092-2315
                                                                                                                    TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 02, 2019                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 30, 2019 at the address(es) listed below:
              Denise E. Carlon    on behalf of Creditor   U.S. Bank N.A., as trustee, on behalf of the holders
               of the J.P. Morgan Mortgage Acquisition Corp. 2006-FRE1 Asset Backed Pass-Through Certificates,
               Series 2006-FRE1 dcarlon@kmllawgroup.com, bkgroup@kmllawgroup.com
              Jay L. Lubetkin    jlubetkin@rltlawfirm.com, NJ57@ecfcbis.com,lvala@rltlawfirm.com,
               rgaydos@rltlawfirm.com
              Jay L. Lubetkin    on behalf of Trustee Jay L. Lubetkin jlubetkin@rltlawfirm.com,
               NJ57@ecfcbis.com,lvala@rltlawfirm.com,rgaydos@rltlawfirm.com
              Kevin Gordon McDonald    on behalf of Creditor   U.S. Bank N.A., as trustee, on behalf of the
               holders of the J.P. Morgan Mortgage Acquisition Corp. 2006-FRE1 Asset Backed Pass-Through
               Certificates, Series 2006-FRE1 kmcdonald@kmllawgroup.com, bkgroup@kmllawgroup.com
              Tomas Espinosa     on behalf of Debtor Barbara Perez te@lawespinosa.com,
               attespinosalawfirm@gmail.com
              U.S. Trustee    USTPRegion03.NE.ECF@usdoj.gov
                                                                                             TOTAL: 6
